                        In the
                   Court of Appeals
           Second Appellate District of Texas
                    at Fort Worth
                ___________________________
                     No. 02-24-00220-CV
                ___________________________

           PRO-HEALTH PODIATRY P.A., Appellant

                               V.

TARRANT COUNTY, CITY OF ARLINGTON, CITY OF GRAND PRAIRIE,
ARLINGTON INDEPENDENT SCHOOL DISTRICT, TARRANT COUNTY
 COLLEGE DISTRICT, AND TARRANT COUNTY HOSPITAL DISTRICT,
                         Appellees




             On Appeal from the 348th District Court
                     Tarrant County, Texas
                Trial Court No. 348-D35847-23


             Before Bassel, Womack, and Wallach, JJ.
               Per Curiam Memorandum Opinion
                            MEMORANDUM OPINION

       Appellant Pro-Health Podiatry P.A.’s notice of appeal was filed by its president

and registered agent, Dr. Yvette E. Forbes-Baker. On June 21, 2024, we sent a letter

to Pro-Health Podiatry P.A. informing it that further action was necessary:

       A business entity generally may not appear in court through its directors
       or officers who are not attorneys, and a notice of appeal filed by such a
       director or officer is not effective. See Globe Leasing, Inc. v. Engine Supply
       &amp; Mach. Serv[]., 437 S.W.2d 43, 45 (Tex. [] App.—Houston [1st Dist.]
       1969, no writ); see also Kunstoplast of Am., Inc. v. Formosa Plastics Corp., 937
       S.W.2d 455, 456 (Tex. 1996). Legal entities, such as a corporation,[1]
       generally may appear in court only through a licensed attorney. See
       Sherman v. Boston, 486 S.W.3d 88, 95 (Tex. App.—Houston [14th Dist.]
       2016, pet. denied); [Dell] Dev. Corp. v. Best Indus. Unif[.] Supply Co., 743
       S.W.2d 302, 303 (Tex. App.—Houston [14th Dist.] 1987, writ denied)
       (“Corporations may appear and be represented only by a licensed
       attorney.”); see Tex. Bus. Orgs. Code Ann. § 302.001 (applying statutes
       governing for-profit corporations to professional associations as well).
              Our records do not reflect that Dr. Yvette E. Forbes-Baker is an
       attorney. Accordingly, unless a licensed attorney files a notice of
       appearance for [A]ppellant Pro-Health Podiatry[] P.A. with this court on
       or before Monday, July 22, 2024, this appeal may be dismissed. See
       Tex. R. App. P. 42.3(b), (c).

       No licensed attorney has appeared for Pro-Health Podiatry P.A. Because Pro-

Health Podiatry P.A. has failed to obtain counsel as directed by our June 21, 2024

letter, we dismiss its appeal. See Tex. R. App. P. 42.3(b), (c), 43.2(f), 44.3.

                                                         Per Curiam
Delivered: August 22, 2024
       1
         Except as provided by Title 7 of the Texas Business Organizations Code, “a
professional association [such as Pro-Health Podiatry P.A.] has the same powers,
privileges, duties, restrictions, and liabilities as a for-profit corporation.” E. Tex. Kidney
Specialists, P.A. v. Vij, No. 12-24-00024-CV, 2024 WL 3084454, at *7 (Tex. App.—Tyler
June 21, 2024, no pet.) (mem. op.) (quoting Tex. Bus. Orgs. Code Ann. § 2.108).

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